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 1
                              UNITED STATES DISTRICT COURT
 2
                           SOUTHERN DISTRICT OF CALIFORNIA
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      MS. L, et al.,                                 Case No. 3:18-cv-0428 DMS MDD
 4
                       Petitioners-Plaintiffs,       JOINT MOTION TO EXTEND
 5
            vs.                                      BRIEFING SCHEDULE FOR
 6                                                   PLAINTIFFS’ MOTION TO ENFORCE
      U.S. IMMIGRATION AND CUSTOMS                   PRELIMINARY INJUNCTION (ECF
 7    ENFORCEMENT, et al.,                           No. 439)
 8                     Respondents-Defendants.
 9
10
           Respondents-Defendants, U.S. Immigration and Customs Enforcement, et al.,
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     have met and conferred with Petitioners-Plaintiffs, Ms. L., et al. In order to allow
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     fair and orderly resolution of Plaintiffs’ pending Motion to Enforce Preliminary
13
     Injunction (ECF No. 439), Plaintiffs have agreed that Defendants may have an
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     extension of the due date to file their opposition to September 6, 2019, provided that
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     Plaintiffs then have a corresponding extension until September 16, 2019 to file their
16
     reply. To accommodate the extended briefing schedule, the parties then propose that
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     the hearing date for this Motion be moved to September 20, 2019. The final extended
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     schedule agreed to by the parties therefore is as follows:
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               • September 6, 2019 – Defendants’ opposition brief due
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               • September 16, 2019 – Plaintiffs’ reply brief due
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               • September 20, 2019 – argument
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           A proposed order accompanies the joint motion.
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 1 DATED: August 28, 2019            Respectfully submitted,
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